                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION
                         CRIMINAL DOCKET NO. 5:13CR31-3-RLV


UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
                 vs.                              )              ORDER
                                                  )
RICHARD BRYANT CLARK                              )
________________________________              )


          Leave of Court is hereby granted for the dismissal without prejudice the charges against

Defendant Richard Bryant Clark in the above-captioned Bill of Indictment.

          The Clerk is directed to send copies of this Order to the U.S. Probation Office and

Pretrial Services, the U.S. Marshal Service, Defense Counsel, and the United States Attorney's

Office.

                                         Signed: December 30, 2013




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